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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
www.flmb.uscourts.gov

In re: CASE N(). 3:18-bk-01164-JAF

EIHAB H. TAWFIK, M.D., P.A-, CHAPTER 11

Debtor.

 

STATEMENT OF JUSTIN M. LUNA AND LATHAM, SHUKER, EDEN & BEAUDINE,
LLP, PURSUANT TO 11 U.S.C. § 329(a) AND RULE 2016(b),
OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

JUSTIN M. LUNA and the law firm of LATHAM, SHUKER, EDEN & BEAUDINE,
LLP (“Latham Shuker”), in accordance With ll U.S.C. § 329(a) and F.R.B.P. 2016(b), states as
follows:

l. Latham Shuker has represented Eihab H. Tawfil<, M.D., P.A. (the “Debtor”) since on
or about April l l, 2018 in connection With the Debtor’s voluntary petition filed under Chapter 1 1 of
the United States Bankruptcy Code (“Code”).

2. Prior to the commencement of this case, the Debtor paid an advance fee of $5 ,863.00
for post-petition services and expenses in connection With this case.

3. Debtor has paid $ 5 ,837.00 to Latham Shuker, on a current basis, for services
rendered and costs incurred prior to commencement of this case, including the preparation of the
petition for reorganization under Chapter l l of the Code and all related initial pleadings filed in this
case, and prepetition expenses in this case, including the filing fee for the voluntary petition.

4. Latham Shuker has not shared, or agreed to share, the Advance Fee, additional fees,

or subsequent reimbursement of expenses With any other entity, other than partners or regular

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associates of Latham Shuker.

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RESPECTFULLY SUBMITTED this 20 day of April 2018.

I¢

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
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In re: CASE NO. 3:18-bk-01164-JAF
EIHAB H. TAWFIK, M.D., P.A., CHAPTER 11
Debtor.
CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that a true copy of the forgoing STATEMENT OF JUSTIN M.

LUNA AND LATHAM, SHUKER, EDEN & BEAUDINE, LLP, PURSUANT TO 11 U.S.C.
§ 329(21) AND RULE 2016(b), OF THE FEDERAL RULES OF BANKRUPTCY
PROCEDURE has been furnished either electronically and/or by U.S. First Class, postage prepaid
mail to: EIHAB H. TAWFIK, M.D., P.A., c/o Eihab H. Tawfik, 73 94 W est Gulf to Lake Highway,
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Blvd., Suite 1700, Tampa, Florida 33602 (mwmurrav@trenam.com); IBERIABANK c/o Michael
S. Waskiewicz, Esq., 50 North Laura Street, Suite 3000, Jacksonville, Florida 32202
(mwaskiewicz@burr.com); all creditors and interested parties as shown on the matrix attached

 

hereto, and the UNITED STATES TRUSTEE - JAX11, Office of the

W. Washington Street, Suite 1100, Orlando, Florida 32801, on this yO{Zay of April 2018.

/s/ Justin M. Luna /U%

Justin M. Luna, Esq

nited States Tnistee, 400

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Label Matrix for local noticing
113A-3

Case 3:18-bk-01164-JAF

Middle District of Florida
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Fri Apr 13 13:23:35 EDT 2018

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Case 3:18-bk-01164-.]AF Doc 27 Filed 04/20/18 Page 6 of 6

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